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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

In Re:                                        )       Chapter 7
                                              )
JOHN BREUGELMANS,                             )       Case No. 17-29532
                                              )
                                              )
                       Debtor.                )       Honorable A. BENJAMIN GOLDGAR

                                     NOTICE OF MOTION

       PLEASE TAKE NOTICE that on Friday, January 5, 2018, at 1:00 p.m., I shall appear
before the Honorable A. Benjamin Goldgar, Bankruptcy Judge in North Branch Court, (Round
Lake Beach), 1792 Nicole Lane, Round Lake Beach, Illinois, or before any other Bankruptcy
Judge who may be sitting in his place and shall present the Motion for Rule 2004 Examination
of the Debtor, a copy of which is attached hereto and is herewith served upon you.

NOTE THAT THE PROPOSED ORDER APPENDED TO THIS MOTION MAY BE
ENTERED BY THE JUDGE WITHOUT PRESENTMENT IN OPEN COURT UNLESS A
PARTY IN INTEREST NOTIFIES THE JUDGE OF AN OBJECTION THERETO
PURSUANT TO LOCAL RULE 9013-9(C).

                                                       /s/ Denise A. DeLaurent
                                                      Denise A. DeLaurent, Attorney
                                                      OFFICE OF THE U.S. TRUSTEE
                                                      219 South Dearborn Street, Room 873
                                                      Chicago, Illinois 60604
                                                      (312) 886-3326


                                 CERTIFICATE OF SERVICE

        I, Denise A. DeLaurent, an attorney, state that on December 18, 2017 pursuant to Local
Rule 9013-1(D) the above Notice of Motion and the appended Motion for Rule 2004
Examination of the Debtor were filed and served on all parties identified as Registrants on the
service list below through the Court’s Electronic Notice for Registrants and, as to all other
parties on the service list below, I caused a copy to be sent via First Class Mail to the address(es)
indicated.


                                                       /s/ Denise A. DeLaurent
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                                      SERVICE LIST

Registrants Served Through the Court’s Electronic Notice for Registrants


      Joseph E Cohen jcohen@cohenandkrol.com,
       jcohen@ecf.epiqsystems.com;jcohenattorney@gmail.com;jneiman@cohenandkrol.com;a
       cartwright@cohenandkrol.com
      John P Dickson john@dicksonlawgroup.com
      Patrick S Layng USTPRegion11.ES.ECF@usdoj.gov
      Umair Malik amps@manleydeas.com

Parties Served via First Class Mail

John Breugelmans
10 Hidden Brook Drive
North Barrington, IL 60010
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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF ILLINOIS
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In Re:                                        )       Chapter 7
                                              )
JOHN BREUGELMANS,                             )       Case No. 17-29532
                                              )
                                              )
                       Debtor.                )       Honorable A. BENJAMIN GOLDGAR

                                 MOTION FOR RULE 2004
                              EXAMINATION OF THE DEBTOR

         NOW COMES PATRICK S. LAYNG, the United States Trustee for the Northern District

of Illinois, by his attorney, Denise DeLaurent, and moves the Court to enter an order authorizing

examination of John Breugelmans (the “Debtor”) pursuant to Fed. R. Bankr. P. 2004. In support

of his request, the United States Trustee states the following:

         1.    This is a core proceeding under 28 U.S.C. §157(b)(2)(A) which this Court may

hear and determine pursuant to IOP 15(a) and LR40.3.1(a) of the United States District Court for

the Northern District of Illinois and Local Rule 9013-9(A)(10).

         2.    Movant is the United States Trustee for the Northern District of Illinois and brings

this motion pursuant to Fed. R. Bankr. P. 2004.

         3.    On October 2, 2017, the Debtor filed his voluntary petition for relief under

Chapter 7 of the Bankruptcy Code. On or about that same time, Joseph E. Cohen was appointed

Chapter 7 Trustee in the Debtor’s case.

         4.    The last date to object to the Debtor’s discharge under §727(a) is presently set for

January 8, 2018. The U.S. Trustee has concurrently filed a motion to extend the time to object to

the Debtor’s discharge.
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        5.      The Debtor’s Schedule D lists $2,567,526.23 in secured claims and Schedule E/F

shows $60,158.52 in general unsecured debt.

        6.      The Debtor’s Schedule I lists $10,000 in monthly business income or $120,000.00

annually.

        7.      On October 11, 2017 a docket entry was entered identifying this case as Selected

for Audit. A Report of Audit with Material Misstatement was filed on December 8, 2017

         7.     The U.S. Trustee needs to verify information on the Debtor’s Schedules and

Statement of Financial Affairs. In order to do so, the U.S. Trustee needs to elicit information

from the Debtor under Fed. R. Bankr. P. 2004(c), including the production of documents and

attendance and testimony at a 2004 examination.

        WHEREFORE, the U.S. Trustee requests the Court to enter an order authorizing the

United States Trustee to conduct an examination of the Debtor under Fed. R. Bankr. P. 2004, and

for such other relief as is just.

                                                    RESPECTFULLY SUBMITTED:

                                                    PATRICK S. LAYNG
                                                    UNITED STATES TRUSTEE


DATED: December 18, 2017                      BY:    /s/ Denise A. DeLaurent
                                                    Denise A. DeLaurent, Attorney
                                                    OFFICE OF THE U.S. TRUSTEE
                                                    219 South Dearborn Street, Room 873
                                                    Chicago, Illinois 60604
                                                    (312) 886-3326
